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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION


UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                               CASE NO. 4:19-CR-00613-01-LPR

JAMES POWELL                                                                 DEFENDANT

                                             ORDER

       Pending before the Court is the Defendant’s Motion for Immediate Release from

Custody. The Government has no objection to the motion.

       IT IS THEREFORE ORDERED that the Defendant’s Motion for Immediate Release

(Doc. No. 45) be, and it is hereby, granted, and defendant released from custody of the United

States Marshal. Defendant is to be released immediately from the U.S. Marshal Service custody.

Defendant is to remain on all previous pretrial release conditions.

       IT IS SO ORDERED this 14th day of October 2020.



                                                     ________________________________
                                                     LEE P. RUDOFSKY
                                                     UNITED STATES DISTRICT JUDGE
